Case 5:24-cv-00631-JKP-HJB Document 19 Filed 10/28/24 Page 1of3

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

GROVANO INC., Individually and on §
Behalf of All Others Similarly Situated, §

Plaintiffs, :
V. : SA-24-CV-631-JKP (HJB)
ROCKET ENTERPRISES, LLC,

Defendant. :

ORDER

Before the Court is the status of this case. Pretrial and scheduling matters in this case have
been referred to the undersigned pursuant to 28 U.S.C. § 636(b). (See Docket Entry 5.)

On August 30, 2024, the undersigned held an Initial Pretrial Conference (“IPC”) at which
a non-attorney representative of the Defendant appeared. The Court explained that corporations
and limited liability companies cannot proceed in federal court without representation by counsel.
See Donovan v. Rd. Rangers Country Junction, Inc., 736 f2d 1004, 1005 (Sth Cir. 1984).
Accordingly, The IPC was reset to October 23, 2024, to allow Defendant time to hire the needed
representation.

However, on the morning of October 23, 2024, Plaintiffs attorney notified chambers of
her inability to appear due to an unforeseen and urgent medical issue. And on that same date,
counsel for Plaintiff moved to withdraw. (Docket Entry 16.) Counsel indicated that she believed
it appropriate to withdraw immediately, would she stated that she provide additional information

under seal if necessary to support her motion to withdraw. (/d. at 2 & nn. 1-2.)
Case 5:24-cv-00631-JKP-HJB Document 19 Filed 10/28/24 Page 2 of 3

Given the circumstances set out above, the Court finds good cause to continue the IPC.

The Court will set a deadline for Plaintiff's counsel to offer additional information under seal, as

well as a deadline for the parties to designate counsel to represent them henceforth.

Accordingly, it is hereby ORDERED as follows:

1)

4)

The IPC in this case is RESET to December 12, 2024, at 3:30 p.M. The IPC will be
held by video teleconference using the Zoom video platform. On the designated date
and time of the conference, the parties are directed to join the ZOOMGOV meeting, at
the following address:

https://txwd-uscourts.zoomgov.com/j/16126018188
Meeting ID: 161 2601 8188

The parties are responsible for ensuring, in advance of the conference, that their video
teleconference equipment is functioning and properly connects with the Court’s sys-
tem. Parties experiencing any technical difficulties should contact Courtroom Deputy

Cindy Miranda at cindy_miranda@txwd.uscourts.gov.

Counsel for Plaintiff must offer additional information to supplement her motion to
withdraw (Docket Entry 16) on or before November 12, 2024. The supplement must
indicate whether Plaintiff opposes the motion to withdraw. If Plaintiff does not oppose
the motion, new counsel for Plaintiff must enter an appearance on or before November
22, 2024.

Counsel for Defendant must likewise enter an appearance on or before November 22,
2024.

The U.S. Clerk is directed to send a copy of this Order by U.S. Certified Mail to the

parties at following addresses (see Docket Entries 6, 7, and 16):

bo
Case 5:24-cv-00631-JKP-HJB Document19 Filed 10/28/24 Page 3 of 3

Grovano, Inc.
c/o Mark Anthny Ortega

15450 Capital Prt. Dr.
San Antonio, TX 78249

Rocket Enterprises, LLC
7803 N. Audubon Road
Indianapolis, IN 46250

Rocket Enterprises, LLC
2457 E. Washington Street, Suite D
Indianapolis, IN 46201

The parties are admonished that failure to have an attorney appear on their behalf could result in

the dismissal of claims pursuant to Federal Rule of Civil Procedure 41(b) or entry of default

Ae pe

Hen I/Be nporad
Unifed States ual a

pursuant to Federal Rule of Civil Procedure 55(a).

SIGNED on October 28, 2024.

